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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    NAOMI BERMAN,                                       Case No. 19-cv-06489-JST
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER TO FILE STIPULATION OF
                                   9                                                        DISMISSAL
                                  10    ESTEE LAUDER INC., et al.,                          Re: ECF No. 28
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The parties have filed a notice of settlement. ECF No. 28. By April 16, 2020, the parties

                                  14   shall file either a stipulation of dismissal or a one-page joint statement explaining why they were

                                  15   unable to file such a stipulation.

                                  16          The Court also hereby sets a case management conference on May 5, 2020. That

                                  17   conference will be vacated automatically if a stipulation of dismissal is timely filed.

                                  18          Any continuance of the deadlines set in this order requires a showing of good cause.

                                  19          All other deadlines and hearings are vacated.

                                  20          IT IS SO ORDERED.

                                  21   Dated: March 2, 2020
                                                                                        _______________________________________
                                  22                                                                   JON S. TIGAR
                                  23                                                             United States District Judge

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